                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:22-CV-15-FL

  ROBERT TERRACINO and
  BRADIE TERRACINO,

          Plaintiffs,

  v.                                                                  ORDER

  TRIMACO, INC.,

          Defendant.



       This matter is before the Court on Defendant Trimaco, Inc.’s Consent Motion to

extend time to serve its invalidity contentions. Defendant sought an extension until August

25, 2023 to serve its invalidity contentions. Plaintiffs consent to the requested extension, and

the Court finds that good cause exists for the requested extension.

       WHEREFORE, IT IS HEREBY ORDERED that Defendant Trimaco, Inc.’s Consent

Motion to Extend Time to Serve its Invalidity Contentions is hereby GRANTED.

Accordingly, the court on its own initiative directs that Defendant Trimaco, Inc. shall serve its

invalidity contentions no later than September 22, 2023.
       SO ORDERED this the 12th day of September, 2023.
                        BY:
                              __________________________________
                              LOUISE W. FLANAGAN
                              United States District Judge




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